                 Case 1:18-cv-01356-MLB                        Document 2   Filed 04/17/18   Page 1 of 3
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       U.S~~. Atlanta           ...,
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         .HAllEN, Clerk ~                  IN UNITED STATES DISTRICT COURT
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                               FOR THE NORTHERN DISTRICT OF GEORIGIA

                                                       ATLANTA DIVISION



                          J()~         I1IiJ4ur   Je   11 ),   ;~ 5            FEDERAL CASE NO.

                          Petitioner

                                                                            1:18-CV-1356
           VS.




                        dt.+-rt9~ A J S-I-aH {? c/£(j-!-­
                        Respondents



                                         PETITION FOR REMOVAL OF ACTION



          The petitioner respectfully petitions this court for removal of action.

                    COMES NOW petitioner as above stated and petitions this court for removal

          of action from the Magistrate Court ofDeKalb County petition is set forth on the

          following grounds;
    Case 1:18-cv-01356-MLB         Document 2      Filed 04/17/18   Page 2 of 3




                                           1.



      The proceedings occurring in violation of the and the Respondent's service

of process is Unconstitutional with respect to the "Due Process Clauses" 14th

Amendment with defective service.


                                           2.
      The Respondent has failed to state claim that grounds for relief may be

granted.



                                           3.
     The judicial proceedings against the petitioner occurring in violation of the
UCC 306.

                                             4.

           This honorable court has jurisdiction as a federal question of law because

the petitioner has a bankruptcy appeal currently pending in this court.




WHEREFORE the Petitioner demands the following relief

This honorable Court remove this case from the Magistrate Court of DeKalb
County and honorable Court afford adequate discovery.

This honorable Court all relief this Court deems just and proper.
    Case 1:18-cv-01356-MLB        Document 2        Filed 04/17/18   Page 3 of 3




                                  VERIFICATION

                                      (Affidavit)




         The undersigned Affiant by appellation does here with swear, declare and

affirm that the Affiant executes this Affidavit with sincere intent and competently

states the matters set forth. I the undersigned being under oath and declare under

penalty of perjury, that I do not have an attorney, legal advisor, paralegal or typist

to represent me in this case. Also that the contents are true, correct and not

misleading to the best of her knowledge.




                                                      Petitioner

                                                      Pro se
